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                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

In re: Grace Ocean et al.
                                                                                  *
       Plaintiff,
                                                                                  *
                                                                                                                              1:24-cv- 00941 (JKB)
       v.                                                                                               Case No.
                                                                                  *

       Defendant.                                                                 *

                                        DISCLOSURE OF CORPORATE INTEREST


Check all that apply:

       I certify, as party/counsel in this case that
                                                                                                                      (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).



                                                                                       MSC Mediterranean Shipping Company S.A. and MSC Mediterranean Shipping Company Holding S.A.

       The following corporate affiliations exist with                                                                                                                               :
                                                                                                                         (name of party)


MSC Mediterranean Shipping Company S.A. is an affiliate of MSC Mediterranean Shipping Company Holding S.A.
                                                                                                                                                                                     .
                                                                      (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:
TT Club Mutual Insurance Ltd. as the insurer of MSC's property/container shells onboard the M/V DALI and who provided the General Average Guarantee on behalf of MSC.
                                                                                                                                                                                     .
                                                         (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
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Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                              (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




September 24, 2024
Date                                                   Signature
                                                       Priscilla Donovan Bar No. 27031
                                                       Printed name and bar number
                                                       10278 Burleigh Cottage Lane, Ellicott City, MD 21042

                                                       Address
                                                       pard@donovanrainie.com
                                                       Email address
                                                       410-685-8800
                                                       Telephone number
                                                       n/a
                                                       Fax number




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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 24th day September 2024 a copy of the foregoing was served on all

counsel who have appeared in this case, including counsel of record for Petitioners, via the ECF system.



                                                        _______________/s/______________
                                                        Priscilla A. Donovan
